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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,

              Plaintiff,                     Case No. 1:18-cr-00258-BLW
       vs.

PAVEL BABICHENKO,                            FIRST ORDER MODIFYING
GENNADY BABITCHENKO,                         GENERAL ORDER NO. 319
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALIE BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

              Defendants.


      The Court, having previously designated this case as complex pursuant to 18

U.S.C. § 3161(h)(7)(B)(ii), HEREBY ORDERS that a jury trial is scheduled to

commence in this matter on Monday, October 5, 2020, at 1:30 p.m. at the James A.

McClure Federal Building and Courthouse in Boise, Idaho.

      IT IS FURTHER ORDERED that the Revised Criminal Procedural Order set forth

in General Order 319 is hereby modified as follows:




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A.   EXPERT WITNESS IDENTIFICATION AND DISCLOSURE

       1. The Government will identify and disclose expert witnesses by January 1,

          2020. The Defendants will identify and disclose expert witnesses by March

          1, 2020. The disclosures must include a written summary of the expected

          testimony from an expert witness, including his or her opinions, and the

          bases and reasons for those opinions and qualifications. Fed. R. Crim. P.

          16(a)(1)(G).

       2. The parties must identify rebuttal experts by April 1, 2020.

       3. The parties must provide all expert related discovery no later than May 1,

          2020.

B.   PRETRIAL MOTIONS

       1. All pre-trial motions including those pursuant to Fed. R. Crim. P. 12, but

          excepting motions in limine, must be filed on or before April 3, 2020. Any

          motions in limine should be filed by August 7, 2020.

       2. All responsive memoranda to pretrial and post-trial motions must be filed

          on or before the thirtieth (30th) day following the filing of any motion. Any

          reply memoranda to motions must be filed on or before the fourteenth

          (14th) day following the filing of the response memoranda.

       3. Proposed voir dire, proposed jury instructions, proposed verdict forms,

          exhibit lists, and a copy of exhibits must be filed on or before September 7,

          2020.




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       All other terms, deadlines, and conditions of General Order No. 319 not

specifically referenced or amended in this Order remain in effect. The parties must file a

stipulation or motion if they wish to modify the terms of this Order or the unmodified

portions of General Order No. 319. The parties must also continue to diligently work with

the Coordinating Discovery Attorney, Rusk Aoki, to effectuate full and fair discovery.

       The Court will set periodic status conferences to obtain information about the

status of discovery and to promote effective case management.

       IT IS SO ORDERED.



                                                 DATED: August 12, 2019


                                                 _________________________
                                                 B. Lynn Winmill
                                                 U.S. District Court Judge




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